
666 S.E.2d 647 (2008)
Vergil SKEEN
v.
WARREN &amp; SWEAT MANUFACTURING, INC., and Cart Products, Inc.
No. 149P08.
Supreme Court of North Carolina.
August 26, 2008.
Kenneth R. Raynor, Charlotte, for Warren &amp; Sweat Manufacturing.
Katherine Freeman, Paul I. Klein, Charlotte, for Skeen.

ORDER
Upon consideration of the conditional petition filed on the 18th day of April 2008 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Dismissed as moot by order of the Court in conference, this the 26th day of August 2008."
